Case 2:05-cr-20061-tmp Document 9 Filed 06/03/05 Page 1 of 2 Page|D 8
IN THE UNITED STATES DISTRICT COURT

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WESTERN DIVISION
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UNITED STATES OF AMERICA `<?%§;k{}icbi§ EqEMFH%S
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v.

]ENNIFER N. FERGUSON 05cr20061-P

 

ORDER SPECIFYING PERIOD OF EXCLUDABLE DELAY
UNDER THE SPEEDY TRIAL ACT

 

This cause came on for an Arraignment on the Misdemeanor
lnformation on( §§g¢¢ ge Z¢ L¢LQ § . At this time, government and
defendant requested a continuance in order to allow for additional time to

pursue deferred prosecution of defendant ]ennifer N. Ferguson. The Court

granted the request and reset the Arraignment date tow
LWM g M§ § /AEQ' mm

lt is therefore ORDERED that the time period
of §/Zj//§_ through, F,/¢///J:)' isexcludable pursuant

to the Speedy Trial Act, as set out in 18 U.S.C. § 3161 (h)(2).

This 3 day dilon ,2005.

 

UNITED STATES MAGISTRATE ]UDGE

This dochent entered on the docket s eet In complia ca
with me 55 and/or 3211)) FRCrP on __c.d_€_.£_' ’ 0

 

UNITED STATES DISTRIC COURT- WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 9 in
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Honorable Tu Pham
US DISTRICT COURT

